Case 1:03-cr-00145-MAC-ZJH         Document 141        Filed 02/18/10     Page 1 of 1 PageID #:
                                          347




 UNITED STATES DISTRICT COURT                             EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                       §
                                                §
 versus                                         §   CASE NO. 1:03-CR-145
                                                §
 JAMES ALVIN GODFREY                            §

                                ORDER ADOPTING
                    UNITED STATES MAGISTRATE JUDGE’S REPORT


          On this day, the court considered the Report and Recommendation of United States

 Magistrate Judge Earl S. Hines regarding defendant’s pending motion in the above-numbered case.

 The court is of the opinion that the Report and Recommendation should be accepted. No

 objections to the Report and Recommendation have been filed.


          Accordingly, it is ORDERED that the Report and Recommendation of the United States

 magistrate judge is ADOPTED. It is further


          ORDERED
          .         that defense counsel’s “Motion to Withdraw” [Dkt. No. 137] is DENIED.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.

          SIGNED at Sherman, Texas, this 18th day of February, 2010.




                                         ________________________________________
                                                     MARCIA A. CRONE
                                              UNITED STATES DISTRICT JUDGE
